8:04-cr-00164-RGK-CRZ        Doc # 402     Filed: 07/01/15    Page 1 of 1 - Page ID # 1504




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          8:04CR164-7
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
PEDRO MORALES,                                )
                                              )
                     Defendant.               )

       I am in receipt of a report from the Probation Office indicating that the defendant is
not eligible for a sentence reduction under Amendment 782 because of the statutory
minimum. Counsel have been notified of the Probation Office’s determination.

      IT IS ORDERED that a sentence reduction under Amendment 782 (filing 398) is
denied.

       Dated July 1, 2015.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          Senior United States District Judge
